      Case 16-37792           Doc 24         Filed 02/13/17 Entered 02/13/17 14:42:25         Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


  IN RE:
                                                               Case No.: 16-37792
            Nikki Parham                                       Chapter: 13
                                                               Hearing Date: 3/6/17
                                                   Debtor(s)
                                                               Judge Jacqueline P. Cox
                                                NOTICE OF MOTION

TO:    Tom Vaughn, Chapter 13 Trustee, 55 E. Monroe Street, Suite 3850, Chicago, IL 60603 by electronic
       notice through ECF
       Nikki Parham, Debtor(s), 7523 S Ridgeland, Chicago, IL 60649
       Julie M Gleason, Attorney for Debtor(s), 77 W Washington, Suite 1218, Chicago, IL 60602 by electronic
       notice through ECF

           PLEASE TAKE NOTICE that on the 3/6/17, at 9:00AM, or as soon thereafter as counsel may be
  heard, I shall appear before the Honorable Judge Jacqueline P. Cox, Bankruptcy Judge, in the courtroom
  usually occupied by him/her at the Everett McKinley Dirksen Building, 219 South Dearborn, Chicago,
  Illinois, room 680, or before any other Bankruptcy Judge who may be sitting in his/her place and stead,
  and shall then and there present this Motion of the undersigned, a copy of which is attached hereto and
  herewith served upon you, and shall pray for the entry of an Order in compliance therewith, at which time
  you may appear if you so desire.

                                                 PROOF OF SERVICE

           The undersigned, an attorney, hereby certifies that I have served a copy of this Notice along with
  the attached Motion upon the parties listed above, as to the Trustee and Debtor's attorney via electronic
  notice on February 13, 2017 and as to the debtor by causing same to be mailed in a properly addressed
  envelope, postage prepaid, from 7140 Monroe Street, Willowbrook, IL 60527 before the hour of 5:00 PM
  on February 13, 2017.


                                                                      /s/ Jose Moreno
                                                                        Attorney for Movant

  Berton J. Maley ARDC#6209399
  Rachael A. Stokas ARDC#6276349
  Gloria C. Tsotsos ARDC#6274279
  Jose G. Moreno ARDC#6229900
  Peter C. Bastianen ARDC#6244346
  Joel P. Fonferko ARDC#6276490
  Codilis & Associates, P.C.
  15W030 North Frontage Road, Suite 100
  Burr Ridge, IL 60527
  (630) 794-5300
  C&A FILE (14-15-19164)

  NOTE: This law firm is a debt collector.
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                                           CERTIFICATE OF SERVICE


       The undersigned, an attorney, hereby certifies that I have served a copy of this Notice
along with the attached Motion upon the parties listed below, as to the Trustee and Debtor's
attorney via electronic notice on February 13, 2017 and as to the debtor by causing same to be
mailed in a properly addressed envelope, postage prepaid, from 7140 Monroe Street,
Willowbrook, IL 60527 before the hour of 5:00 PM on February 13, 2017.
  Tom Vaughn, Chapter 13 Trustee, 55 E. Monroe Street, Suite 3850, Chicago, IL 60603 by electronic notice
  through ECF
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  notice through ECF




                                                                 /s/ Jose Moreno
                                                                   Attorney for Movant

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                      UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
IN RE:
                                                    Case No.: 16-37792
           Nikki Parham                             Chapter: 13
                                                    Hearing Date: 3/6/17

                                       Debtor(s)    Judge Jacqueline P. Cox


MOTION FOR RELIEF FROM THE AUTOMATIC STAY OR IN THE ALTERNATIVE
     TO DISMISS THE CASE FOR FAILURE TO MAKE PLAN PAYMENTS

       NOW COMES Lakeview Loan Servicing, LLC, (hereinafter "Movant"), by and through
its attorneys, Codilis & Associates, P.C., and moves this Honorable Court pursuant to 11 U.S.C.
§362(d) for an Order granting Movant relief from the automatic stay, or alternatively, for entry
of an order dismissing the case pursuant to 11 U.S.C. §1307, and in support thereof states as
follows:


       1.       This Court has jurisdiction pursuant to 28 U.S.C. §1334 and Internal Operating
Procedure 15(a) of the United States District Court for the Northern District of Illinois, Eastern
Division;


       2.       The Debtor is indebted to Movant for which the Movant claims a valid security
interest in the property commonly known as 7523 S. Ridgeland Avenue, Chicago, IL 60649;


       3.       Enforcement of this security interest has been stayed automatically by operation
of 11 U.S.C. §362 of the Bankruptcy Code upon Debtor filing of this petition on 11/30/16;


       4.       The Chapter 13 plan herein provides for the cure of the default of said mortgage
and maintenance of current payments during the pendency of the proceeding;


       5.       Pursuant to the plan, Debtor(s) is/are to disburse the current monthly mortgage
payments directly to Movant beginning with the first payment due after the filing of the Chapter
13 Bankruptcy (subject to periodic adjustment due to change in escrow);
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       6.      Movant is entitled to relief from the automatic stay under 11 U.S.C. Section
362(d) for the following reasons:


                  a)    As of 02/07/2017, the Debtor(s) is/are past due for the 12/1/16, and all
                        amounts coming due since that date. Any payments received after this
                        date may not be reflected in this default;


                  b)    As of 02/07/2017, the total post-petition default through and including
                        2/1/17, is $4,958.33. Any payments received after this date may not be
                        reflected in this default. This amount includes post-petition attorney
                        fees in the amount of $1,031.00;


                  c)    On 03/01/2017, the default will continue to increase as additional
                        amounts become due;


       7.      Said failure to make post-petition mortgage payments is sufficient grounds for
relief from the automatic stay for cause pursuant to 11 U.S.C. Section 362(d)(1);


       8.      That sufficient grounds exist to dismiss this proceeding under 11 U.S.C. §1307 as:


                  a)    debtor’s failure to timely pay post-petition mortgage payments as
                        required under the plan and 11 U.S.C. §1322(b)(2) and (b)(5) constitutes
                        an unreasonable delay that is prejudicial to moving creditor and the case
                        should be dismissed under §1307(c)(1);


                  b)    debtor’s failure to timely pay post-petition mortgage payments as
                        required under the plan and 11 U.S.C. §1322(b)(2) and (b)(5) constitutes
                        “cause” and the case should be dismissed under the general provisions of
                        11 U.S.C. §1307;
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                         c)     the default in payments under the proposed plan, constitutes a failure to
                                commence making timely payments under 11 U.S.C. §1326 and the case
                                should be dismissed under §1307(c)(4);


         9.        This Court has authority to order that Rule 4001(a)(3) is not applicable to the
order entered in granting this motion, and Movant requests this Court so order;


         10.        Movant has incurred attorney fees and/or costs in connection with this
bankruptcy proceeding:
                        $850.00        for Preparation of Notice and Motion for Relief from the
                        Automatic Stay, and prosecution of same
                        $181.00        for Court filing fee


         WHEREFORE, Lakeview Loan Servicing, LLC prays this Court enter an Order
pursuant to 11 U.S.C. Section 362(d) modifying the automatic stay as to Movant, or
alternatively, for an entry of an order dismissing the case pursuant to 11 U.S.C. §1307, allowing
the fees and costs described herein to be added to the indebtedness pursuant to the terms of the
note and mortgage, and for such other and further relief as this Court may deem just and proper.
         Dated this February 13, 2017.
                                                                Respectfully Submitted,

                                                                Codilis & Associates, P.C.


                                                                By: /s/ Jose Moreno

                                                                Berton J. Maley ARDC#6209399
                                                                Rachael A. Stokas ARDC#6276349
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